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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Jade Thompson,

Plaintiff,

V. Case No. 2:18-cv-628
Marietta Education Association, et ai., Judge Michael H. Watson

Defendants. Magistrate Judge Vascura

OPINION AND ORDER

Jade Thompson (“Plaintiff”) sues the Marietta Education Association (‘the
Union”) and Marietta Board of Education (“the Board”) (collectively, “Defendants”)
under 42 U.S.C. § 1983. She argues that Ohio Revised Code §§ 4117.04—05
are unconstitutional. The Court denied Plaintiff's motion for a preliminary
injunction, Op. and Order, ECF No. 52, and Plaintiff, the Union, and the Board
now all move for summary judgment. ECF Nos. 56, 57, 58. For the following
reasons, the Court GRANTS the Union’s and the Board’s motions and DENIES
Plaintiff's motion.

I. FACTS

The pertinent facts of this case were recited in the Court’s prior Opinion
and Order, ECF No. 52. The Court adds, however, the following relevant facts.

The Collective Bargaining Agreement (“Agreement”) that was in effect at
the time this lawsuit was filed has been replaced by a successor Collective

Bargaining Agreement (“Successor Agreement’). Both the Agreement and the
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Successor Agreement are governed by the challenged portions of Ohio law.
Stipulated Facts | 12, ECF No. 59. No party suggests the Successor Agreement
varies from the Agreement in any way material to this lawsuit. See id. J 14.

Although Plaintiff at times asserts that the Board appoints or appointed the
Union as Plaintiffs speaker, agent, or representative, see, e.g., PI. Mot. Summ.
J. 2, ECF No. 58-1, that is not accurate. Rather, once an entity has been
designated an exclusive representative, pursuant to Ohio Revised Code
§ 4117.05, Ohio law requires public employers like the Board to “extend to [that]
exclusive representative . . . the right to represent exclusively the employees in
the appropriate bargaining unit... .” O.R.C. § 4117.04(A). Thus, “[pJursuant to
the provisions of the Act governing the designation of employee representatives,
the Board has recognized the Union as the majority-designated exclusive
representative of a bargaining unit of certain public employees of the Board for
the purposes of collective bargaining under the Act,” Stipulated Facts 9, ECF
No. 59 (emphasis added), it did not appoint the Union as the exclusive
representative.

Additionally, Plaintiff's contention that the Union speaks for her is
inaccurate. As a matter of law, Ohio requires the Board to recognize the Union
as the bargaining unit's representative for purposes of collective bargaining.
O.R.C. § 4117.04(A), (B). The Agreement also states that the Board recognized
the Union as the bargaining agent for the members of the bargaining unit. CBA

§ 1.01, ECF No. 1-1. Thus, the Court concluded in its prior Opinion and Order

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that “although the Union represents Plaintiff, and in that representation ‘speaks
for her,’ realistically, it is speaking for the bargaining unit members as a collective
rather than purporting to espouse specific views for any individual bargaining unit
member.” Op. and Order 19, ECF No. 52; cf. Reisman v. Associated Faculties of
Univ. of Maine, 939 F.3d 409, 412-13 (1st Cir. 2019) (concluding same when
interpreting similar statute). Plaintiffs argument that Ohio law or the Agreement
should be interpreted as meaning that the Union’s speech is attributable to each
individual bargaining unit member (as opposed to the bargaining unit as a
collective), or that they should be interpreted as appointing the Union as
Plaintiffs personal agent or representative (as opposed to the bargaining unit's
agent or representative), is unpersuasive and does not change the Court's prior
legal conclusion. And, as a factual matter, Plaintiff has not offered evidence that
anyone perceives the Union’s speech as attributable to her as an individual. On
the other hand, since the Court issued its Opinion and Order denying Plaintiff's
motion for a preliminary injunction, the Board has submitted additional evidence
showing that the Superintendent of the Marietta City School District “make[s] no
assumption or conclusion that the Union speaks on behalf of all teachers, or that
all teachers agree with the position(s) of the Union.” Hampton Decl. J 11, ECF

No. 56-1,

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Because the parties dispute only the law or legal significance of certain
facts, and there is no genuine dispute of any material fact,’ this case is prime for
resolution via summary judgment.

ll. © STANDARD OF REVIEW

Summary judgment is appropriate “if the movant shows that there is no
genuine dispute as to any material fact and the movant is entitled to judgment as
a matter of law.” FED. R. CIV. P. 56(a). The movant has the burden of
establishing that there are no genuine issues of material fact, which may be
accomplished by demonstrating that the nonmoving party lacks evidence to
support an essential element of its case. Celotex Corp. v. Catrett, 477 U.S. 317,
322-23 (1986); Barnhart v. Pickrel, Schaeffer & Ebeling Co., 12 F.3d 1382,
1388-89 (6th Cir. 1993). To avoid summary judgment, the nonmovant “must do
more than simply show that there is some metaphysical doubt as to the material
facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586
(1986); accord Moore v. Philip Morris Cos., 8 F.3d 335, 340 (6th Cir. 1993).

“{S]ummary judgment will not lie if the dispute about a material fact is ‘genuine,’

 

1 The Court's legal conclusion that Plaintiffs claims are precluded by Knight renders it
unnecessary to resolve the parties’ disputes over the accuracy of certain assertions
contained in Plaintiff's statement of facts. By way of example and not limitation, the
parties dispute the accuracy of Plaintiffs statement that the Union “is entitled to
participate in the adjustment process” during the adjustment of a grievance or Plaintiff's
explanation of the Union’s role in teacher evaluation procedures. See Pl. Mot. Summ.
J. 34 (fact section), ECF No. 58-1; Bd. Resp. 5-7, ECF No. 63; Union Resp. 1-2, ECF
No. 64. In any event, they are not material facts.

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that is, if the evidence is such that a reasonable jury could return a verdict for the
nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

In evaluating a motion for summary judgment, the evidence must be
viewed in the light most favorable to the nonmoving party. Adickes v. S.H. Kress
& Co., 398 U.S. 144, 158-59 (1970); see Reeves v. Sanderson Plumbing Prods.,
Inc., 530 U.S. 133, 150 (2000) (stating that the court must draw all reasonable
inferences in favor of the nonmoving party and must refrain from making
credibility determinations or weighing evidence). Furthermore, the existence of a
mere scintilla of evidence in support of the nonmoving party’s position will not be
sufficient; there must be evidence on which the jury reasonably could find for the
nonmoving party. Anderson, 477 U.S. at 251; see Copeland v. Machulis, 57 F.3d
476, 479 (6th Cir. 1995); see also Matsushita, 475 U.S. at 587-88 (finding
reliance upon mere allegations, conjecture, or implausible inferences to be
insufficient to survive summary judgment).

Here, the parties have filed cross-motions for summary judgment. Each
party, as a movant for summary judgment, bears the burden of establishing that
no genuine issue of material fact exists and that he or she is entitled to a
judgment as a matter of law. The fact that one party fails to satisfy that burden
on his or her own Rule 56 motion does not automatically indicate that the
opposing party or parties has satisfied the burden and should be granted
summary judgment on the other motion. In reviewing cross-motions for summary

judgment, courts should “evaluate each motion on its own merits and view all

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facts and inferences in the light most favorable to the non-moving party.” Wiley
v. United States, 20 F.3d 222, 224 (6th Cir. 1994). “The filing of cross-motions
for summary judgment does not necessarily mean that the parties consent to
resolution of the case on the existing record or that the district court is free to
treat the case as if it was submitted for final resolution on a stipulated record.”
Taft Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir. 1991) (quoting John
v. State of La. (Bd. of Trs. for State Colls. & Univs.), 757 F.2d 698, 705 (5th Cir.
1985)). The standard of review for cross-motions for summary judgment does
not differ from the standard applied when a motion is filed by one party to the
litigation. Taft Broad., 929 F.2d at 248.

lll. ANALYSIS

The Court denied Plaintiffs request for a preliminary injunction primarily
because it found that she was unlikely to succeed on the merits of her claim. Op.
and Order 6-21, ECF No. 52. Specifically, the Court concluded that Plaintiffs
claims were likely foreclosed by the Supreme Court's opinion in Minnesota Bd.
for Community Colleges v. Knight, 465 U.S. 271, 283 (1984).

Upon thorough review of the summary judgment briefing, the Court
concludes that the parties have not presented any factual issue in need of
resolution. Further, nothing in the briefing undermines the Court's prior legal
conclusion that Plaintiffs compelled speech and compelled association claims
were likely foreclosed by the Supreme Court's decision in Knight. Accordingly,

the Court affirms the analysis contained in its prior Opinion and Order, ECF No.

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52, and now conclusively finds that Plaintiff's claims are precluded by Supreme
Court precedent. There is no utility in repeating the Court’s entire analysis here
and, instead, the Court adopts that analysis herein. Notwithstanding that, the

Court offers the following additional observations.

A. Plaintiff Waived her Argument that Ohio Law Restricts her Right to

Speak, Associate, and Petition the Government (Compl. 7 116, ECF

No. 1).

In her motion for summary judgment, Plaintiff argues that Ohio’s
“exclusive-representation scheme burdens the First Amendment rights of the
Plaintiff, Jade Thompson, and other non-members by binding the Board
indefinitely to negotiate with the Union to the exclusion of non-members.” PI.
Mot. Summ. J. 2, ECF No. 58-1; see also id. at 13-17. Plaintiff states that this
argument “was not presented at the preliminary injunction stage, [but] it is
pleaded in her Complaint and remains part of this case.” Pl. Mot. Summ. J. 12,
ECF No. 58-1 (record citations omitted).

But Plaintiff did not merely fail to address this argument at the preliminary
injunction stage or fail to support it with sufficient evidence to warrant the grant of

a preliminary injunction. Rather, the Court found that Plaintiff affirmatively

 

2 Thus, Plaintiff's affirmative waiver of the argument and express advocacy for relief that
is entirely inconsistent with the argument she attempts to raise now renders the cases
Plaintiff cites inapposite. See United States v. Certain Land Situated in City of Detroit,
76 F.3d 380, 380 n.1 (6th Cir. Jan. 23, 1996) (“Failure to present. . . evidence in
support of . . . request for a preliminary injunction does not amount to a waiver of . . .
argument at a later stage in the litigation.”); Wiliam G. Wilcox, D.O., P.C. Emp. Defined
Ben. Pension Trust v. United States, 888 F.2d 1111 (6th Cir. 1989) (finding district court
erred in granting summary judgment based solely on its conclusion that its earlier denial
of motion for preliminary injunction constituted the law of the case vis-a-vis the merits of

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waived her argument that Ohio Revised Code § 4117.04(A) violates her right to
speak, associate, and petition the government. Op. and Order 5, ECF No. 52; id.
atn.8. Indeed, the instances of waiver are numerous:

e Mot. Prelim. In. 8, ECF No. 15-1 (conceding that “the government
has no obligation to listen to the views of any such person or
organization.” (citing Knight, 465 U.S. at 283));

e /d. at 11 (representing that Plaintiffs “claim is not that she or an
organization with which she chooses to associate has a right to
participate in a bargaining session, but that she cannot be
compelled to associate with the Union through its advocacy as her
representative or agent.”);

e Reply to Mot. Prelim. Inj. 1-2, ECF No. 35 (“Knight .. . rejected a
claim to the right by non-union members to be heard by the
government, which is not the right this motion seeks to vindicate.”);

e fd. at 2 (stating the Union “treats this motion as a request to end
collective bargaining or open it up to multiple competing unions,
but that is not what [Plaintiff] seeks. She simply requests that the
Union stop speaking on her behalf as her ‘representative.’ The
Union may continue speaking, and it may continue negotiating
terms and conditions of employment and other policy concessions
with the board. Likewise, the Board may continue to negotiate with
the Union the terms and conditions of employment that it offers to
its employees and continue to apply the terms of its collective-
bargaining agreement to all bargaining-unit members.” (emphasis
added));

 

the lawsuit); Certified Restoration Dry Cleaning Network, L.L.C. v. Tenke Corp., 511
F.3d 535 (6th Cir. 2007) (finding district court erred in concluding plaintiff was unlikely to
succeed on the merits of its claim and should have granted a preliminary injunction
based on the evidence presented). Although she referred only to her “motion” in
several of the quoted examples above, when read in the proper context, it is clear that
Plaintiff was arguing that (notwithstanding her Complaint) her position of this case was
one in which she did not challenge exclusive representation and limited her challenge
solely to the designation of that exclusive representative as her “representative” who
spoke “for her.”

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e /d. at11 (“She does not request to be heard or, for that matter, for
the Union not to be heard.”);

e id. at 12 (“[G]ranting the relief here will . . . nof prevent the Union
from continuing to bargain with the Board or require the Board to
bargain with [Piaintiff].”);

e fd. at 13 (‘[Plaintiff] does not challenge the State’s policy of
negotiating terms of employment and other matters with an
organization that has won the majority support of employees—the
State, after all, is free to discuss matters of policy with whomever
it pleases.”):

e fd. at 14 ([Plaintiff] is not asking for the end of majority rule in the
workplace and a court-imposed system of competing unions or
multiple collective-bargaining agreements.”);

e /d. at 14~—15 (A preliminary injunction “would not prevent the state
from applying a single set of terms to all its employees, or from
engaging in collective bargaining with the Union, or from listening
to the Union at collective-bargaining sessions. If would not compel
the State to listen to [Plaintiff] and other non-members. Under
Knight, the state has no obligation to give [Plaintiff] an equal say in
policy, and nothing prevents the state from applying the terms and
conditions of employment it arrives at with the Union to all its
employees... .”);

e /d. at 15 (“[T]he Board can recognize the Union as speaking for its
own members, even while applying terms arrived at through
negotiation with the Union to all public employees within a
bargaining unit—just as it does today.”);

e fd. at 18 (“Such an injunction would not affect wages or benefits
under the Agreement, the Union’s right to bargain over terms and
conditions governing all bargaining-unit members (including
[Plaintiff]), or the Board’s right to negotiate with a single union.”);

e Tr. Prelim. Inj. Hrg. 4-5, ECF No. 43 (“I'd like to begin by clarifying
what it is that we’re challenging and what it is that we’re not. We
have no objection to Ohio law recognizing a labor union as an
exclusive bargaining partner of a school board or school
district. That's fine. We're not claiming that a school board has

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to negotiate with other labor unions or other organizations. We're
not even claiming that [Plaintiff] has a right to be heard by the
school board. Maybe it should do that but we recognize that the
First Amendment doesn’t require that. What we're challenging is
the appointment of the union as her representative.” (emphasis
added));

e /d. at 8 (“But again, we're not challenging the exclusive aspect of
the union’s role here. What we're challenging is its
representational role.”);

e /d. at 16 (‘[Plaintiff] is not claiming that she has any right to appear
at collective bargaining sessions or that she has a right to
participate at every single grievance proceeding. All she’s saying
is that she doesn’t want the board to recognize the union as
speaking for her.”);

e id. at 33-34 (“We are not seeking to open up any additional
avenues for [Plaintiff] to have her say. .. . She has not claimed the
right to be heard. She has not claimed the right to participate in
collective bargaining or anything of that sort.”);

e /d. at 34 (‘In our view, the labor union, as well as the board, can
largely continue as they’ve been going.”);

e id. at 36-37 ("We're not seeking to disrupt the collective
bargaining process... . | haven't understood my friends who
identified any particular thing that the union couldn't do other than
claiming to speak for her that it is currently doing. In other words,
there’s this very broad argument on labor peace and disruption and
chaos and so on, but the problem is, how do you connect the two?
... Sure, if there were multiple unions that might be a problem. If
maybe there wasn'ta union at all, that perhaps could be a problem.
Maybe the state has [a] legitimate interest with respect to those
things. But in terms of the union not speaking for [Plaintiff], |
haven't heard anything about how the union needs to speak for
her.” (emphasis added));

e id. at 38 (“She doesn’t want those words put in her mouth as

opposed to any type of right of access or right for her to participate
in some type of proceeding with the school board.”)}; and

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e fd. (“[T]he injury to the defendants in this instance would be
negligible. Again, | haven’t heard any of that connection as to how
this affects their operations... .”).

Regardless of how Plaintiff frames the arguments on summary judgment,
her contention that the Union’s exclusive status burdens her rights to free
speech, free association, and to petition the government is directly at odds with
her repeated assertions that her lawsuit does not challenge the Union’s right to
bargain exclusively with the State in setting the terms of employment for all
bargaining-unit members. Plaintiff has repeatedly taken the position that she
simply challenges the Union being deemed her “agent” or “representative,” and
therefore speaking “on her behalf,” while it does so. As the Court found earlier,
see, e.g., Op. and Order 5, ECF No. 52, her other arguments are therefore
waived.

Alternatively, even if Plaintiff had not waived her right to pursue those
arguments, they are foreclosed by Knight. See Knight, 465 U.S. at 280-90; see
also id. at 273-75 (despite Plaintiffs attempt to distinguish Knight, the Minnesota
scheme at issue there also involved a statutory limitation requiring the Board to

negotiate or confer only with the exclusive representative (if one was so

selected)).*

 

3 Knight and this Court's prior Opinion and Order also explain why Plaintiff's argument
that the Union shouid be deemed to represent only bargaining unit members who are
also Union members must fail. If that were the case, Plaintiff and other non-Union
bargaining unit members would either be utterly unable to negotiate the terms of their
employment (because they were unrepresented during negotiations), or they would
have to have the corresponding right to participate in negotiations on their own behalf,

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Plaintiff asserts that, to the extent Knight precludes her arguments, Knight
should be overruled. However, she also acknowledges this Court's inability to
overrule Supreme Court precedent. For that reason, Plaintiff seeks to preserve
for appeal her contention that Knight should be overruled if it forecloses her
arguments concerning the affirmative rights to speak, associate, and petition the
government. PI. Mot. Summ. J. 16, ECF No. 58-1, Although the Court finds
Plaintiff has waived those arguments and finds them precluded by Knight only in
the alternative, in the event the Sixth Circuit disagrees with this Court’s finding on
waiver, this Court acknowledges Plaintiffs preservation request.

B. The Court Gave Proper Deference to Knight.

The Court disagrees with Plaintiff's contention that the Court's preliminary
conclusion reads “a single sentence unnecessary to the decision [in Knighf] as
having done so much work.” Pl. Mot. Summ. J. 8, ECF No. 58-1 (quoting Ark.
Game & Fish Comm'n v. United States, 568 U.S. 23, 35 (2012)). Unlike in the

cases Plaintiff cites, this Court did not take a “general expression[]” from Knight

 

which right was found lacking in Knight. Permitting the Union to “represent” all
bargaining unit members (in the sense that negotiated-for terms and conditions apply
even to non-Union members), while preserving bargaining unit members’ ability to reject
association with the Union (through non-membership), and protecting that right through
the requirement of fair representation, passes constitutional scrutiny. Such a system of
exclusive representation is narrowly tailored—Plaintiff's argument would entirely undo
exclusive representation or require Plaintiff to give up her job as a requirement of her
choice to go unrepresented. To the extent Plaintiff argues that a more narrowly tailored
scheme would be a system wherein she remains bound by the terms and conditions
bargained-for by the Union while her interests are wholly unrepresented in that
bargaining process, the Supreme Court has suggested that such a scheme would raise
“serious ‘constitutional questions.” Janus v. Am. Fed. of State, Cty., and Municipal

Emps., Council 31, 138 S. Ct. 2448, 2469 (2018) (internal citation omitted).
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and “transpose[] [it] to other facts.” Armour & Co. v. Wantock, 323 U.S. 126, 133
(1944). Rather, the scheme of exclusive representation at issue in Knight is
materially indistinguishable from Ohio’s scheme. Moreover, this Court concludes
that the same reasoning applied by the Supreme Court in Knight to decide the
claims that were advanced in that case—not merely a single sentence
unnecessary to the decision—also compels rejection of the claims Plaintiff raises
here. In fact, this Court found that, while the exact claims Plaintiff raises here
were not raised in Knight, the claims raised in Knight and those raised by Plaintiff
“are two sides of the same coin.” Op. and Order 16, ECF No. 52. That
conclusion makes Knight's reasoning equally applicable to Plaintiff's claims and
keeps this Court’s interpretation of Knight “within reasonable bounds.” Wantock,
323 U.S. at 133.

C. Additional Case Law Supports the Court’s Conclusion.

The Court previously cited multiple cases that rejected, as foreclosed by
Knight, the same claims Plaintiff makes here. See Op. and Order 8-9, 12-13,
15, 19, ECF No. 52. The Court notes that, as of this time, none of those cases
have been reversed.

In fact, the district court opinion in Reisman v. Associated Faculties of the
University of Maine, 356 F. Supp. 3d 173 (D. Maine 2018), was subsequently
affirmed by the United States Court of Appeals for the First Circuit. Reisman,
939 F.3d at 414 (finding Janus did not undermine prior circuit precedent holding

that Knight foreclosed such compelled speech and compelled association

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claims). Similarly, the district court opinion in Mentele v. Inslee, No. C15-5134-
RBL, 2016 WL 3017713 (W.D. Wash. May 26, 2016), was affirmed by the United
States Court of Appeals for the Ninth Circuit after the issuance of this Court’s
prior Opinion and Order. Mentele v. inslee, 916 F.3d 783, 789 (9th Cir. 2019)
(“[Wle apply Knight's more directly applicable precedent, rather than relying on
the passage [Plaintiff] cites from Janus, and hold that Washington’s authorization
of an exclusive bargaining representative does not infringe [Plaintiff's] First
Amendment rights.”). These subsequently issued circuit opinions lend further
support to this Court's conclusion.

Moreover, the Supreme Court has recently denied petitions for certiorari in
Bierman, 139 S. Ct. 2043, and Mentele, 2019 WL 4921408, and those circuit
decisions are therefore final.

Additionally, several other opinions have since been issued that support
this Court’s conclusion that Knight forecloses Plaintiff's claims. See O’Callaghan
v. Regents of Univ. of Cal., No. 2:19-cv-2289-JVS-DFM, Docket No. 69, at 9-10
(C.D. Cal. Sept. 30, 2019); Sweet v. Cal. Ass’n. of Psychiatric Technicians, No.
2:19-cv-349-JAM-AC, 2019 WL 4054105 (E.D. Cal. Aug. 28, 2019); Grossman v.
Haw. Gov. Emps. Ass’n/AFSCME Local 152, 382 F. Supp. 3d 1088 (D. Haw.
2019); Babb v. Cal. Teachers Ass’n, 378 F. Supp. 3d 857 (C.D. Cal. 2019);
Crockett v. NEA-Alaska, 367 F. Supp. 3d 996, 1009 (D. Alaska 2019) (“Despite
the dicta set forth in Janus that enticed Plaintiff McCollum to bring such a First

Amendment challenge, binding Supreme Court precedent flatly rejects her

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position.”); Akers v. Md. State Edu. Ass’n, 376 F. Supp. 3d 563, 573 (D. Md.
2019) (“Plaintiffs have agreed with Defendants that this claim is foreclosed by
Supreme Court precedent .. . .”).

At the time of this writing, it appears that every court to have considered
the issue has found that Knight precludes claims that exclusive representation in
the public sector, alone, amounts to unconstitutional compelled speech or
compelled association.

D. Ohio has a Compelling Interest in Preserving Labor Peace, and its

Exclusive Representation Scheme is Narrowly Tailored to Achieve that
Interest

in any event, even if Plaintiffs First Amendment claims are not precluded
by Supreme Court precedent, they would fail.

Defendants have submitted ample evidence of Ohio’s history of labor strife
and how the system of exclusive representation has resulted in labor peace.
Millstone Decl., ECF No. 28-1; Buettner Decl., ECF No. 28-2; Grodin Decl., ECF
No. 28-3. Plaintiff has failed to rebut that evidence. Defendants’ evidence shows
that Ohio has a compelling interest in preserving labor peace and that exclusive
representation is essential to facilitate that interest.

Ohio's system of exclusive representation is narrowly tailored to achieve
that end such that it would survive even strict scrutiny. Although the scheme
means that the terms of any bargained-for collective bargaining agreement apply

to Plaintiff as a member of the bargaining unit, she remains free to not join the

Union. O.R.C. § 4117.03(A)(1); Stipulated Facts J 16, ECF No. 59. She remains

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free to “[fJorm, join, assist, or participate in, or refrain from forming, joining,
assisting, or participating in . . . aay employee organization of [her] own
choosing.” O.R.C. § 4117.03(A)(1) (emphasis added). Moreover, the Union
does not speak for Plaintiff; it speaks for the bargaining unit of which she is a
member, supra, and she remains free to voice her disagreement with the Union.
Hampton Decl. ff] 5-8 (and exhibits), ECF No. 56-1; Stipulated Facts J 20, ECF
No. 59; PI. Mot. Summ. J. 17, ECF No. 58-1 (conceding Plaintiff has “a near-
absolute right to speak out [herself] on matters of public concern and to join
alternative labor organizations, just like [she] may enter into any number of
private associations free from government retaliation.” (citing Heffernan v. City of
Paterson, N.J., 136 S. Ct. 112, 1416 (2016)); see also O.R.C. § 4117.03(A)(5).
And the Union must fairly represent even the interests of those bargaining unit
members who are not also Union members, such as Plaintiff. O.R.C.

§ 4117.11(B)(6).

Ail of these aspects of Ohio’s exclusive representation scheme
demonstrate that it is narrowly tailored to achieve the compelling State interest
while protecting bargaining unit members’ constitutional rights from undue
infringement. Opening the system up to multiple unions (or permitting non-Union
members to negotiate on their own behalf) would impair the State’s compelling
interest, see Millstone Decl. Jf] 12, 15-16, ECF No. 28-1; Buettner Decl. [J] 13-
14, ECF No. 28-2; Grodin Decl. {J 4-5, 11-13, 15, ECF No. 28-3, and leaving

nen-Union members’ interests entirely unrepresented during bargaining would

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raise its own constitutional concerns. Ohio’s system is sufficiently tailored, and
Plaintiff's discontent with the legislature’s word choice in using “exclusive
representative’ instead of a phrase such as “exclusive bargaining partner” does
not render the scheme unconstitutional as violative of her First Amendment
speech and association rights.

Indeed, to the extent Knight does not foreclose Plaintiff's claims, Janus
strongly suggests that exclusive representation, alone, is narrowly tailored to
achieve the compelling State interest of labor peace. See Janus, 138 S. Ct. at
2465-66 (assuming labor peace is a compelling state interest and finding that,
because exclusive representation and agency fees are not inextricably linked, the
agency fees are not sufficiently tailored to achieve that state interest but
suggesting that exclusive representation, itself, is sufficiently tailored); see also
id. at 2478 (“It is also not disputed that the State may require that a union serve
as exclusive bargaining agent for its employees—itself a significant impingement
on associational freedoms that would not be tolerated in other contexts. We
simply draw the line at allowing the government to go further still and require all
employees to support the union irrespective of whether they share its views.”); id.
at 2466 (discussing federal law, the Postal Service, and state law permitting the
appointment of exclusive representatives without any hint of disapproval of the
same); id. at 2469 (implying that the duty of fair representation ameliorates any
infringement on First Amendment rights caused by appointment of exclusive

representative); id. at 2485 n. 27 (“States can keep their labor-relations systems

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exactly as they are—only they cannot force nonmembers to subsidize public-
sector unions. In this way, these States can follow the model of the federal
government and 28 other States.”).

Thus, this Court agrees with the Ninth Circuit that “Janus did not revisit the
longstanding conclusion that labor peace is ‘a compelling state interest,’ and the
Court has long recognized that exclusive representation is necessary to facilitate
labor peace; without it, employers might face ‘inter-union rivalries’ fostering
‘dissention within the work force,’ ‘conflicting demands from different unions,’ and
confusion from multiple agreements or employment conditions.” Mentele, 916
F.3d at 790 (quoting Janus, 138 S. Ct. at 2465). Plaintiff's claims would thus fail
even if they were not precluded by binding Supreme Court precedent.

IV. CONCLUSION

In conclusion, the Court’s prior Opinion and Order fully explains why
Supreme Court precedent precludes Plaintiff's claims. The fact that exclusive
representation “would not be tolerated in other contexts,” Janus, 138 S. Ct. at
2478, is irrelevant because the Supreme Court has stated that it is tolerated in
this context. In fact, although Plaintiff repeats that phrase as her mantra
throughout her briefing, the full statement by the Supreme Court is, “ft is also not
disputed that the State may require that a union serve as exclusive bargaining
agent for its enployees—itself a significant impingement on associational
freedoms that would not be tolerated in other contexts.” /d. (emphasis added).

Whatever impingement on Plaintiff's First Amendment rights is caused by the

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exclusive representation scheme, the Supreme Court has found that the
impingement passes constitutional muster. Unless and until the Supreme Court
overrules binding precedent, her claims are precluded by law. Therefore,
Plaintiffs motion for summary judgment, ECF No. 58, is DENIED, and
Defendants’ motions for summary judgment, ECF Nos. 56 & 57, are GRANTED.

The Clerk shall enter final judgment for Defendants and terminate the case.

MICHAEL H. WATSON, JUDGE
UNITED STATES DISTRICT COURT

IT IS SO ORDERED.

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